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 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
     KIM LISA HEATH,                                 Case No. 2:24-cv-00155-CDS-BNW
10
                   Plaintiff,                        Stipulation and Order to Extend Time
11                                                   to File a Response to Plaintiff’s First
            v.
12                                                   Amended Complaint
     UNITED STATES OF AMERICA,
13                                                   (Second Request)
                    Defendant.
14

15          Plaintiff Kim Lisa Heath and Defendant United States of America (“United

16 States”), through undersigned counsel, hereby submit this stipulation to extend the date to

17 file a responsive pleading.

18          Plaintiff filed her Complaint on January 23, 2024.

19          Plaintiff filed her First Amended Complaint on March 1, 2024.

20          The United States was served with Plaintiff’s First Amended Complaint on March

21 12, 2024.

22          The current deadline for the United States to respond to Plaintiffs’ First Amended

23 Complaint is June 13, 2024.

24          Plaintiff and the United States, through undersigned counsel, agree and stipulate

25 that the United States’ time to respond to the Plaintiff’s First Amended Complaint be

26 extended to July 8, 2024. This is the second request for an extension of time.

27          The extension of time is necessary because Federal Defendant is still in the process

28 of gathering necessary information from the Department of Veterans Affairs, which is
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1 currently undergoing significant staffing shortages and high workloads that have delayed

2 Federal Defendant’s ability to comprehensively evaluate and answer Plaintiff’s claims.

3           Therefore, the parties request that the Court extend the deadline for the United States

4 to answer or otherwise respond to Plaintiff’s First Amended Complaint to July 8, 2024.

5           This stipulated request is filed in good faith and not for the purposes of undue delay.

6           Respectfully submitted this 13th day of June 2024.

7    THE COTTLE LAW FIRM                               U.S. ATTORNEY’S OFFICE
8    /s/_Robert W. Cottle, Esq.______________          JASON M. FRIERSON
                                                       United States Attorney
9    ROBERT W. COTTLE, ESQ.
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12
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                                                 IT IS SO ORDERED:
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17                                               UNITED STATES MAGISTRATE JUDGE
18                                                       6/14/2024
                                                 DATED: _____________________________
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